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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 _____________________________________
 In the Matter of S.S. and A.S.,       )
                                       )
 DORAN ANTHONY SATCHEL                 )                     DECLARATION IN SUPPORT
                                       )                     OF REQUEST FOR
                         Petitioner,   )                     CERTIFICATE OF DEFAULT
                                       )
 vs.                                   )                     No. 1:25-cv-01309
                                       )
 RENE ALEXIS KIZZI SATCHEL             )
                                       )
                         Respondent.   )
 _____________________________________)

        Richard Min, Esq. hereby declares as follows:

        1. I am counsel for Petitioner, Doran Anthony Satchel, in this instant Hague Convention

 proceeding. I am personally familiar with and have first-hand knowledge of all matters hereinafter

 stated unless stated upon information and belief.

        2. On March 6, 2025, Petitioner filed a petition in this Court under the Hague Convention

 on the Civil Aspects of Child Abduction, Oct. 25, 1980, art. 13(b), T.I.A.S. No 11670, 1343

 U.N.T.S. 89, reprinted in 51 Fed. Reg., 10, 494 (Mar. 26, 1986) (“Hague Convention”),

 implemented in the United States through the International Child Abduction Remedies Act, 22

 U.S.C. § 9001 et seq. (formerly codified at 42 U.S.C. § 11601 et seq.) (“ICARA”), seeking return

 of the subject Children to Canada.

        3. The underlying Petition was filed on March 6, 2025, along with a Proposed Summons

 in a Civil Action. See ECF No. 1. On the same date, this Court issued the Summons directed to

 Respondent. See ECF No. 3.

        4. On March 11, 2025, Petitioner filed a Motion to Expedite Proceedings, and for a

 Temporary Restraining Order. See ECF No. 5. That same day, this Court issued an Order to Show

 Cause directing Respondent, or her counsel, to appear and show cause as to why an order should
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 not be entered granting Petitioner relief pursuant to the Hague Convention and the International

 Child Abduction Remedies Act ("ICARA"). See ECF No. 6.

         5. The Court further ordered Petitioner to serve Respondent with the Order to Show Cause

 and all related pleadings no later than March 13, 2025. Id. Petitioner duly complied with the

 Court’s directive, and Respondent was properly served on March 13, 2025. See ECF No. 8.

         6. The requirements of Rule 4 of the Federal Rules of Civil Procedure for service have

 been satisfied. The Summons was served with a copy of the Petition and all other docket entries

 on Respondent on March 13, 2025, by a person who is at least 18 years old and not a party in this

 instant action. Id.

         7. The Show Cause Hearing was scheduled to take place on March 17, 2025, at 3:00 p.m.

 before the Honorable Judge Cogan. On that date, Respondent failed to appear.

         8. The time for Respondent to answer the complaint herein will expire on March 27, 2025.

         9. Respondent has not answered or otherwise moved with respect to the complaint, and

 the time for Respondent to answer or otherwise move has not been extended.

         10. The Respondent is not an infant or incompetent. Respondent is not presently in the

 military service of the United States as appears from facts in this litigation.

         WHEREFORE, Petitioner Doran Anthony Satchel requests that the default of Respondent

Rene Satchel be noted and a certificate of default issued.

         I declare under penalty of perjury that the foregoing is true and accurate to the best of my

knowledge, information and belief, that the relief requested is justly due to Petitioner, and that no

part thereof has been granted.

         Dated: March 24, 2025


                                                        Respectfully submitted,
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